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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA


  UNITED STATES OF AMERICA                      *    CRIMINAL NO. 16-CR-00140-07


  VERSUS                                        *    JUDGE WALTER


  DAMIEN ALEXANDER                              *    MAG. JUDGE WHITEHURST

                REPORT AND RECOMMENDATION ON
 FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and

 oral consent of the defendant, this matter has been referred by the District Court for

 administration of Guilty Plea, and Allocution under Rule 11 of the Federal Rules of

 Criminal Procedure.

        This case came before the undersigned U. S. Magistrate Judge for a change of plea

 hearing and allocution of the defendant, Damien Alexander, on March 7, 2017. Defendant

 was present with his counsel Alfred F. Boustany, II.

        After said hearing, and for reasons orally assigned, it is the finding of the

 undersigned that the defendant is fully competent, that his plea of guilty is knowing and

 voluntary, and his guilty plea to Count 1of the Indictment, is fully supported by a written

 factual basis for each of the essential elements of the offense.

        Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Damien Alexander, in accordance with the terms

 of the plea agreement filed in the record of these proceedings, and that Damien Alexander
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 be finally adjudged guilty of the offense charged in Count 1 of the Indictment.

        The defendant has waived his right to file an objection to the Report and

 Recommendation.

        THUS DONE AND SIGNED in chambers at Lafayette, Louisiana this

 14th day of March, 2017.
